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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT



UNITED STATES OF AMERICA                  :
                                                  DOCKET NO.
V.                                            :
                                                  3:06CR120(SRU)
ROBINDRANATH PERSAD                           :   JUNE 22, 2006

          DEFENDANT’S MOTION FOR A BILL OF PARTICULARS AND


                      MEMORANDUM IN SUPPORT THEREOF



     ROBINDRANATH PERSAD, a Defendant in the above entitled case, moves the

court, pursuant to the provisions of Rule 7(f) of the Federal Rules of Criminal Procedure,

for an order directing the United States to furnish him with a Bill of Particulars with

respect to the following matters alleged in the indictment in this case, as follows:
1.       1. State the place or places where the conspiracy alleged in the indictment was
initially formed, and the place or places where each Defendant and co-conspirator
presently known to the government joined the alleged conspiracy.
2.       2. State the date or dates and the time or times when each Defendant and each
coconspirator presently known to the Government joined or entered into the alleged
conspiracy.
3.       3. State the period or periods during which each Defendant and each co-
conspirator joined the alleged conspiracy, and state the time during which each
Defendant or co-conspirator remained in the alleged conspiracy.
4.       4. With respect to each Defendant and co-conspirator, state each and every overt
act which the government claims was committed in furtherance of the alleged conspiracy,
concerning which the government intends to offer evidence at trial, and with respect to
each such over act state:

     A. Which Defendant or Defendants committed the act;

     B. Which Defendant or Defendants were present at the time of the commission of the
     act;

   C. The location, including address, where each such act was committed;
1.    5. State the names and addresses of all co-conspirators whose names are presently
known to the government but who are not named in the indictment.
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2.      6. State the names and addresses of all other persons who in any way participated
in the alleged conspiracy, and all other persons present at the time or times any of the
Defendants or co-conspirators joined the alleged conspiracy.
3.      7. State whether any Defendant or co-conspirator was acting on behalf of the
United States at any time during the period of the allegedly conspiracy.
4.      8. State whether any Defendant or co-conspirator has furnished information to
either the United States, or to any state or local law enforcement agency, with respect to
the alleged conspiracy.


        This Motion for a Bill of Particulars is made on the grounds that this

information is necessary to inform the Defendant of the charge against him with

sufficient particularity to enable him to prepare his defense, to avoid and minimize the

danger of surprise at trial, and to enable him to plead his acquittal or conviction in bar

of further prosecution for the same offense. Here, since the Government has chosen to

plead a common-law conspiracy under 21

U.S.C. §846, and has not alleged any overt acts in the indictment, all the Defendant has

before him is a broad, unspecific indictment containing no details whatsoever. Under

these

circumstances, the filing of a bill of particulars should be required because “…the charges

of

(the) indictment are so general that they do not advise the Defendant of the specific

acts of which he is accused.” United States v. Leonelli, 428 F. Supp. 880, 882

(S.D.N.Y. 1977). The indictment here is less specific that the indictment in United

States v. Ramirez, 602 F. Supp

783 (S.D.N.Y. 1985), yet in Ramirez, the court noted, inter alia, that “None of the

overt act allegations mentions (the moving party); he is mentioned only as one of

ten co-conspirators
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charged with violations of 21 U.S.C. §846… This is not enough information for (the

Defendant) to prepare a defense.” Ramirez, supra, at 793, ordered the Government to file

a bill of particulars, closely analogous to the bill of particulars which the Defendant seeks

here.

         In the present indictment the charges are so general that the Defendant does not

know the specific acts that he is accused of. See United States v. White, 753 F. Supp. 432

(D. Conn. 1990); United States v. Facciolo, 753 F. Supp. 449 (S.D.N.Y. 1990). Counsel

for the Defendant has contacted the government pursuant to the Local Rules of Criminal

Procedure in an attempt to resolve the issues raised in this motion but has been unable to

do so.

For all the foregoing reasons, therefore, the
court should order the Government to file a
Bill of Particular.



                                                      RESPECTFULLY SUBMITTED,

                                                      THE
                                                      DEFENDANT,



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                                    CERTIFICATION
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       This is to certify that a copy of the foregoing has been mailed to all counsel and
pro se parties of record as follows:



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